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IN THE UNITED STATES DISTRICT
FOR THE NGRTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
FURNACE BROOK LLC, )
)
Plaintiff, )
)
V )
) Case No.: 08-cv-01851

)

ORBITZ, LLC, and CENDANT CORPORATION, ) (Jury Trial Demanded)
)
Defendants. )

STIPULATION ORDER OF DISMISSAL
Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff, Fumace
Brook, LLC and Defendants, Orbitz, LLC and Cendant Corporation hereby stipulate to
the dismissal, with prejudice, of the Complaint in the above-entitled action based upon a

confidential Patent License Agreement.

Respectfully submitted,

Date: April ll, 2008 s/George C. Summert`leld
Rolf O. Stadheim
Joseph A. Grear
George C. Summerf`leld
Keith A. Vogt
Steven R. Pedersen
Stadheim & Grear, Ltd.
400 North Michigan Avenue, #2200
Chicago, Illinois 60611
(3 12) 755-4400

PURSUANT TO STIPULATION, IT IS SO ORDERED

Dated:

 

Honorable loan B. Gottschall, U.S.D.J.

 

 

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CERTIFICATE OF SERVICE

I hereby certify that on April 11, 2008, I electronically submitted the foregoing
Stipulation Order of Dismissal with the clerk of the court for the U.S. District Court,
Northem District of Illinois, Eastern Division, using the electronic case files system of
the court.

I hereby certify that I have served the foregoing document via electronic mail and
first class mail to the following individual:

J ill Schrank

Orbitz Worldwide

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s/George C. Summertield

